     Case 1:20-cv-09641-ALC-SDA               Document 66        Filed 03/01/22      Page 1 of 1
 Paul A. Pagano, Esq.
 Paul@LawOfficePaulPagano.com
                                Law Office of Paul A. Pagano, P.C.
 (917)589-1479



                                                        March 1, 2022

VIA ECF
The Honorable Andrew L. Carter, Jr., U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square, Room 435
New York, NY 10007

          Re:     Malcolm v. The City of New York
                  20-cv-09641(ALC)

Dear Judge Carter:

          This letter is written to respectfully request an initial conference in the above referenced
matter.


                                                        Respectfully submitted,

                                                        Law Office of Paul A. Pagano, P.C.

                                                 By:
                                                        Paul A. Pagano, Esq.
                                                        Incoming Attorneys for Plaintiffs
                                                        100 Duffy Street, Suite 510
                                                        Hicksville, NY 11801
                                                        (917) 589-1479



cc: All Counsel of Record (VIA ECF)
